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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA

UNITED STATES OF AMERICA,           )
                                    )
        Plaintiff,                  )
                                    )                  20-cv-1974 (WMW/KMM)
        v.                          )
                                    )
REESE PFEIFFER; JEANNE PFEIFFER;    )
MICHAEL FRUEN; JEREMY MARTINEAU; )
FRUEN & PFEIFFER, LLP; AND M. FRUEN )
PROPERTIES, LLC,                    )
                                    )
        Defendants.                 )


SHATARA BROWN, NIKOE LEE, AND                   )
COLLEANA YOUNG,                                 )
                                                )
              Plaintiffs,                       )
                                                )      19-cv-3132 (WMW/KMM)
              v.                                )
                                                )
REESE PFEIFFER, FRUEN & PFEIFFER                )
LLP, MICHAEL FRUEN, AND                         )
M FRUEN PROPERTIES, LLC,                        )
                                                )
              Defendants.                       )


              JOINT MOTION FOR ENTRY OF CONSENT DECREE
       The parties respectfully jointly move this Court to enter the proposed Consent

Decree attached as Exhibit 1 in the above-captioned matters. The proposed Consent Decree

has been fully executed by the parties.

       1.     This Court has jurisdiction over these matters under 28 U.S.C. § 1331 and 42

U.S.C. § 3614(a).
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       2.      On December 19, 2019, Plaintiffs Shatara Brown, Nikoe Lee, and Colleana

Young filed Civil Action 19-cv-3132 (WMW/KMM) under Title VIII of the Civil Rights

Act of 1968, 42 U.S.C. § 3613, alleging sexual harassment in housing against Defendants

Reese Pfeiffer, Fruen & Pfeiffer LLP, Michael Fruen, and M Fruen Properties, LLC.

       3.      On September 16, 2020, the United States of America filed Civil Action 20-

cv-1974 (WMW/KMM) to enforce Title VIII of the Civil Rights Act of 1968 (the Fair

Housing Act), 42 U.S.C. §§ 3601-3631. The United States alleges that Reese Pfeiffer,

acting as an agent of Defendants Jeanne Pfeiffer, Michael Fruen, Jeremy Martineau, Fruen

& Pfeiffer, LLP, and M. Fruen Properties, LLC, violated the Fair Housing Act (FHA) by

discriminating against prospective tenants and tenants on the basis of sex in the rental of

dwellings owned by Defendants, and managed by Reese Pfeiffer, in and around

Minneapolis, MN. Specifically, the United States alleges that from at least 2009 through

the present, Reese Pfeiffer subjected multiple female tenants to severe, pervasive, and

unwelcome sexual harassment and retaliation, including but not limited to the following:

            a. Coercing or pressuring female tenants to engage in sexual acts to obtain or

               keep their housing;

            b. Making unwelcome sexual comments, propositions, and sexual advances to

               female tenants;

            c. Subjecting female tenants to unwelcome sexual contact, including but not

               limited to, touching female tenants’ breasts and genitals;




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            d. Offering to grant tangible housing benefits—such as providing a rental

               opportunity or overlooking or excusing late or unpaid rent or utilities – in

               exchange for sex or sex acts;

            e. Taking or threatening to take adverse housing actions, such as eviction,

               against female tenants who objected to and/or refused sexual advances;

            f. Expressing a preference for renting to single female tenants; and

            g. Making intrusive and at times unannounced visits to female tenants’ homes

               to further his sexual advances.

       4.      The United States alleges that the conduct described above constitutes a

pattern or practice of resistance to the full enjoyment of rights granted by the FHA and

denial to a group of persons of rights granted by the FHA, which denial raises an issue of

general public importance.

       5.      The United States further alleges that Jeanne Pfeiffer, Michael Fruen, Jeremy

Martineau, Fruen & Pfeiffer, LLP, and M. Fruen Properties, LLC are liable for

discriminatory actions and conduct committed by their agent Reese Pfeiffer.

       6.      Defendants deny the allegations of the private plaintiffs and the United

States, and specifically deny that the conduct of any Defendant constitutes sexual

harassment, discrimination, retaliation, or a violation of the FHA. This Consent Decree is

entered into as a compromise of disputed claims, and is not an admission of liability by any

Defendant, and is not to be construed as an admission of liability.




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      7.     The proposed Consent Decree resolves the claims asserted by plaintiffs in

both matters, with the exception of claims for attorneys’ fees in case number 19-cv-3132,

as set forth in paragraph 42 of the proposed Consent Decree.

      8.     The parties recommend, and respectfully request that this Court enter the

attached proposed Consent Decree in both matters captioned above.

                           (SIGNATURE PAGES FOLLOW)




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FOR THE UNITED STATES OF AMERICA:
Dated: August 23, 2021
 KRISTEN CLARKE                              W. ANDERS FOLK
 Assistant Attorney General                  Acting United States Attorney
 Civil Rights Division                       District of Minnesota


                                             /s/Bahram Samie
 SAMEENA SHINA MAJEED                        BAHRAM SAMIE (#392645)
 Chief                                       ANN BILDTSEN (#271494)
 TIMOTHY MORAN                               Assistant U.S. Attorneys
 Deputy Chief                                United States Attorney’s Office
 Housing and Civil Enforcement Section       District of Minnesota
 Civil Rights Division                       600 U.S. Courthouse
 U.S. Department of Justice                  300 South 4th St.
 950 Pennsylvania Avenue NW                  Minneapolis, MN 55415
 Northwest Building, 7th Floor               Tel: (612) 664-5630
 Washington, DC 20530                        Fax: (612) 664-5788
                                             Bahram.Samie@usdoj.gov
                                             Ann.Bildtsen@usdoj.gov


FOR PLAINTIFFS SHATARA BROWN, NIKOE LEE, AND COLLEANA YOUNG

Dated: August 23, 2021

MID-MINNESOTA LEGAL AID



/s/Justin Perl
Rebecca Stillman (#398550)
(612) 746-3759 (phone and fax)
rstillman@mylegalaid.org
Anne M. Robertson (#212775)
(612) 746-3725 (phone and fax)
amrobertson@mylegalaid.org
Justin H. Perl (#151397)
(612) 746-3727
jperl@mylegalaid.org
111 North Fifth Street, Suite 100
Minneapolis, MN 55403
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FOR DEFENDANTS REESE PFEIFFER, JEANNE PFEIFFER & FRUEN &
PFEIFFER, LLP:

Dated: August 23, 2021


/s/Sylvia Ivey Zinn
Sylvia Ivey Zinn (szinn@brendelandzinn.com)
Brendel and Zinn, Ltd.
155 Wabasha Street South, Suite 125
St. Paul, MN 55107



FOR DEFENDANTS JEREMY MARTINEAU, MICHAEL FRUEN, & M. FRUEN
PROPERTIES LLC:
Dated: August 23, 2021



/s/Michael Kemp
Michael Kemp (Mkemp@hansendordell.com)
Hansen Dordell
3900 Northwoods Dr., Suite 250
St. Paul, MN 55112




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